                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   COLUMBIA DIVISION



ASSOCIATION CONCERNED OVER                   )
RESOURCES AND NATURE, INC.,                  )
                                             )
                       Plaintiff,            )
                                             )
       v.                                    )       Civil Action No. _________________
                                             )
SMELTER SERVICE CORPORATION,                 )
                                             )
                       Defendant.            )


                                         COMPLAINT

       Plaintiff Association Concerned Over Resources and Nature, Inc., by and through

counsel, allege as follows:

                                    NATURE OF THE CASE

       1.      This is a citizen’s suit, brought pursuant to Section 505(a)(1) of the federal Clean

Water Act (“CWA” or “the Act”), as amended, 33 U.S.C. § 1365(a)(1), to address violations of

the Act by Defendant Smelter Service Corporation (“Smelter”) arising out of its operation of an

aluminum smelting and refining plant located in Maury County, Tennessee (“Smelter facility”).

Defendant Smelter has, in its operation of its facility, repeatedly violated, and continues to

violate, the terms and conditions of its National Pollutant Discharge Elimination System

(“NPDES”) permit issued pursuant to 33 U.S.C. § 1342 governing operation of the facility.

More specifically, Defendant Smelter has violated the CWA by discharging non-contact cooling

water/condensate and industrial storm water in violation its NPDES Permit, as well as the

Tennessee Water Quality Control Act (“TWQCA”) and Tennessee Water Quality Standards.




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Smelter has also violated its NPDES Permit and the CWA by failing to comply with the

requirements pertaining to its Storm Water Pollution Prevention Plan.            Plaintiff seeks a

declaratory judgment, injunctive relief, the imposition of civil penalties, and the award of costs,

including attorney and expert witness fees, for Defendant Smelter’s repeated and ongoing

violations of the CWA and further seeks to compel compliance with Smelter’s NPDES Permit

and the Act.


                                        JURISDICTION

       2.      This Court has subject matter jurisdiction over the CWA claims set forth in this

Complaint pursuant to Section 505(a) of the CWA, 33 U.S.C. § 1365(a), and 28 U.S.C. § 1331.

       3.      Plaintiff has complied with the pre-suit notice provisions of the CWA. Pursuant

to Section 505(b)(1)(A) of the CWA, 33 U.S.C. § 1365(b)(1)(A), Plaintiff, on August 23, 2010,

mailed a notice of intent to file suit under the CWA to address the violations at the Smelter

facility to Defendant Smelter, the Administrator of the U.S. Environmental Protection Agency

(“EPA”), the Regional Administrator of the EPA, the Director of the Tennessee Department of

Environment and Conservation (“TDEC”), and the United States Attorney General (“August

Notice”). [Attached as Exhibit “A” and incorporated by reference herein]. The August Notice

complied with 33 U.S.C. § 1365(b)(1)(A) and with 40 C.F.R. Part 135, Subpart A. More than 60

days have passed since the August Notice was served on Defendant Smelter and these agencies.

       4.      Neither EPA nor TDEC have commenced nor are they diligently prosecuting a

civil or criminal action in a court of the United States to redress the violations of the CWA by

Defendant Smelter. In addition, TDEC has not commenced and is not diligently prosecuting a

civil or criminal action in a state court to redress the violations of the Act by Defendant Smelter


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under a state enforcement scheme comparable to the enforcement provisions of the Act.

Tennessee’s water pollution enforcement scheme is not comparable to the enforcement

provisions of the Act. Jones v. City of Lakeland, 224 F.3d 518 (6th Cir. 2000).

        5.       In addition, EPA has not commenced an administrative penalty action under

Section 309(g) of the CWA, 33 U.S.C. § 1319(g), to redress the violations of the CWA by

Defendant Smelter.        Furthermore, Plaintiff served notice of this citizen suit prior to any

administrative penalty action taken by TDEC with regard to any of the violations claimed in this

suit, and this suit is being filed prior to the expiration of 120 days from the service of Plaintiff’s

August notice on Defendants. Therefore, pursuant to 33 U.S.C. § 1319(g)(6)(B)(ii), the

limitations on citizen suits contained in 33 U.S.C. § 1319(g)(6)(A) do not apply to this suit.

        6.       Plaintiffs will, immediately upon receipt of a file stamped copy of this Complaint,

mail a copy of this Complaint to the Administrator of the Environmental Protection Agency, the

Regional Administrator of the EPA Region in which the violations are alleged to have occurred,

and the Attorney General of the United States.

        7.       Venue is appropriate in the Middle District of Tennessee, pursuant to Section

505(c) of the CWA, 33 U.S.C. § 1365(c), because the source of the violations is located within

this judicial district.

                                             PARTIES

        8.       Plaintiff Association Concerned Over Resources and Nature, Inc. (“ACORN”) is

a nonprofit corporation organized under the laws of Tennessee with its principal office in

Columbia, Tennessee. ACORN was organized in or about 2000 to, among other reasons: to

educate the public about the threats to the environment and public health in Mount Pleasant; to

advocate for reduction in water pollution and air pollution in Mount Pleasant; to educate the
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public about land use decisions and their impacts on the environment, public health, community

character and property values in Mount Pleasant; and to advocate for more sustainable land use

decisions in Mount Pleasant. ACORN has members who own property and reside downstream

from the location in the unnamed tributary of Sugar Creek into which Smelter discharges non-

contact cooling water/condensate and industrial stormwater. Members of ACORN also fish and

recreate downstream from the Smelter discharge(s). Members of ACORN have been and will be

directly and substantially injured in their use and enjoyment of their property and in their

recreational and aesthetic enjoyment of waters downstream from the Smelter discharge as a

direct result of Smelter’s violations of the CWA. The relief sought in this case would provide

redress for these injuries. Additionally, because these injuries are being caused by pollution of

waters of the United States, these injuries fall within the zone of interests protected by the CWA.

       9.      Plaintiff ACORN is a “citizen” within the meaning of 33 U.S.C. §§ 1365(g) and

1365(a).

       10.     Defendant Smelter Service Corporation (“Smelter”) is a for profit corporation

organized under the laws of Tennessee with its principal office located in Mount Pleasant,

Tennessee. The principal address of Smelter is 400 Arrow Mines Road, Mount Pleasant, TN,

38474. The registered agent for service of process is Jim G. Barrier, 400 Arrow Mines Road,

P.O. Box 432, Mount Pleasant, Tennessee, 38474.

       11.     Defendant Smelter is a “person” within the meaning of 33 U.S.C. § 1362(5) and

1365(a)(1).

                                STATUTORY BACKGROUND

       12.     Section 301(a) of the Clean Water Act, 33 U.S.C. § 1311(a), prohibits the

discharge of pollutants from a point source into waters of the United States unless the discharge
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is in compliance with various enumerated sections of the Act. Among other things, Section

301(a) prohibits such discharges not authorized by, or in violation of the terms of, a NPDES

permit issued pursuant to Section 402 of the Act, 33 U.S.C. § 1342.

       13.     The State of Tennessee has been delegated the authority to implement the

permitting programs of the Act by EPA, including the NPDES permit program, pursuant to 33

U.S.C. § 1342(b). TDEC is the water pollution control agency for purposes of the Act, and has

drafted regulations pursuant to that authority implementing the Act’s permitting programs within

the State of Tennessee. See Tenn. Code Ann. § 69-3-105(h)(1).

       14.     A violation of an NPDES permit issued by TDEC is a violation of the Tennessee

Water Quality Control Act of 1977, Tenn. Code Ann. §§ 69-3-101, et seq. (“TWQCA”), TDEC

rules, including Chapter 1200-4-5, and the federal Clean Water Act.

       15.     Pursuant to Tenn. Code Ann. § 69-3-105(a)(1), all waters of the State of

Tennessee have been classified by the Tennessee Water Quality Control Board for suitable uses.

       16.     Chapter 1200-4-3 of the Rules of the Tennessee Department of Environment and

Conservation set forth the General Water Quality Criteria for all waters of the State of

Tennessee. Rule 1200-4-3.03 provides the water quality criteria for water uses, and Rule 1200-

4-3.03(3) provides, in pertinent part:

       (3) Fish and Aquatic Life

               (b) pH – The pH value shall not … be outside the following ranges: 6.0-
               9.0 in wadeable streams and 6.5-9.0 in larger rivers, lakes, reservoirs, and
               wetlands.

               (d) Turbidity, Total Suspended Solids, or Color – There shall be no
               turbidity, total suspended solids, or color in such amounts or of such
               character that will materially affect fish and aquatic life …



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              (e) Temperature - …The temperature of the water shall not exceed 30.5°C
              ….


              (g) Toxic Substances -         CMC (ug/L)                     CCC (ug/L)

                      Cyanide                         22                            5.2

                      Cadmium                         2.0                           .25

                      Copper                          13                            9.0

                      Lead                            65                            2.5

                      Zinc                            120                           120

              (h) Other Pollutants – The waters shall not contain other pollutants that
              will be detrimental to fish or aquatic life.

              (k) Nutrients – The waters shall not contain nutrients in concentrations
              that stimulate aquatic plant and/or algae growth to the extent that aquatic
              habitat is substantially reduced and/or the biological integrity fails to meet
              regional goals. Additionally, the quality of downstream receiving waters
              shall not be detrimentally affected.

       17.    A citizen suit, pursuant to 33 U.S.C. § 1365(a)(1), may be brought for violations

of the terms of NPDES permits. 33 U.S.C. § 1365(f).

                                 GENERAL ALLEGATIONS

       18.    At all times relevant hereto, Defendant Smelter has operated an aluminum

smelting and refining facility (“Smelter facility”) located in the City of Mount Pleasant, Maury

County, Tennessee.    The Smelter facility is currently governed by the terms and conditions

contained in NPDES Permit No. TN0078573 (“NPDES Permit”), which authorizes Defendant

Smelter to discharge non-contact cooling water/condensate from Outfall 001 and treated

industrial storm water from Outfalls SW1 and SW2 into an unnamed tributary of Sugar Creek.




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        19.     The unnamed tributary to Sugar Creek, as well as Sugar Creek, are waters of the

State of Tennessee, and “waters of the United States” as that term is used in the CWA and as it

has been interpreted by the federal courts.

        20.     Sugar Creek and its tributaries, including the unnamed tributary which receives

the discharge(s) of cooling water/condensate and treated industrial storm water from the Smelter

facility, are designated by the State of Tennessee for use as, amongst other uses, fish and aquatic

life, recreation, irrigation, livestock watering and wildlife.

        21.     The unnamed tributary to Sugar Creek and Sugar Creek are continuously flowing

streams forming geographic features depicted on United States Geological Survey topographical

maps.

        22.     Discharge of pollutants into the unnamed tributary to Sugar Creek can

significantly affect the chemical, physical, and biological integrity of navigable in fact waters

downstream.

        23.     Part I.A. (“Effluent Limitations and Monitoring Requirements”) of Smelter’s

NPDES Permit provides numeric limits for certain effluent characteristics in regards to Smelter’s

discharge of non-contact cooling water from Outfall 001. Part I.A. also provides additional

monitoring requirements and conditions applicable to Smelter’s discharge of industrial storm

water from Outfalls SW1 and SW2. Part I.A. of provides:

        There shall be no distinctly visible solids, scum, foam, oil slick or materials which
        form slimes, bottom deposits or sludge banks of such size or character that may
        be detrimental to fish and aquatic life. The wastewater discharge must not cause
        an objectionable color contrast in the receiving stream.

        The wastewater discharge shall not contain pollutants in quantities that will be
        hazardous or otherwise detrimental to humans, livestock, wildlife, plant life, or
        fish and aquatic life in the receiving stream.


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         Sludge or any other material removed by any treatment works must be disposed
         of in a manner, which prevents its entrance into or pollution of any surface of
         subsurface waters.

 (hereinafter “Additional Conditions”).

         24.    As demonstrated by Defendant Smelter’s own certified Discharge Monitoring

Reports (“DMRs”) submitted to TDEC, Smelter has, between January of 2009 and June of 2010,

consistently violated the above-referenced effluent limitations and Additional Conditions

contained in its NPDES Permit, as well as the TWQCA and Tennessee Water Quality Standards,

arising out of its discharge(s) of non-contact cooling water/condensate and industrial storm

water.

         25.    Part V of Smelter’s NPDES Permit requires that Smelter “ … develop, document

and maintain a Storm Water Pollution Prevention Plan (“SWPPP”) …,” and Attachment 3 of the

NPDES Permit sets out the SWPPP requirements.                    Because Smelter’s NPDES Permit

incorporates the requirement of a SWPPP, any violation of the SWPPP is also a violation of the

NPDES Permit and the CWA.

         26.    Attachment 3 of Smelter’s NPDES Permit requires that the SWPPP include a

signed Non-Stormwater Discharge certification. Smelter’s most recently revised SWPPP, dated

September of 2005, fails to contain this signed certification.

         27.    Page 2 of Smelter’s revised SWPPP provides that the SWPPP will be amended

by Smelter when “[T]he plan has proven to be ineffective in eliminating or significantly reducing

sources pollutants.” Despite the numerous violations demonstrated by Smelter’s own certified

DMRs, Smelter has failed to amend the revised SWPPP.

         28.    Part III. E of Smelter’s NDPES Permit requires Smelter to develop and implement

a Biological Monitoring and Abatement (“BMAP”) Plan to define the biological impact of its
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storm water discharges on receiving streams and to determine appropriate abatement

measures/schedules for correction.

        29.      Smelter prepared a BMAP Baseline Survey Investigation dated October 26, 2009.

This investigation showed that sampling events conducted on May 13, 2009, and August 28,

2009, demonstrated a measureable difference in biological diversity between samples conducted

upstream of Smelter’s storm water discharge and samples conducted downstream of Smelter’s

storm water discharge.

        30.      Smelter prepared a final BMAP report dated November 24, 2009. Page 6 of this

report states:

        The Preliminary Report concluded that there was a measurable difference in the
        biological diversity between the samples conducted upstream versus those
        conducted downstream of the [Smelter] storm water discharge … In addition,
        bioessays were conducted with storm water samples and the tests indicated that
        the samples were chronically toxic to aquatic test organisms.

        31.      The results of the BMAP reports referenced above constitute violations of the

TWQCA, Tenn. Code Ann. § 69-3-108(b) and § 69-3-114, Tennessee Water Quality Standards,

the Additional Conditions relating to storm water discharges contained in Smelter’s NPDES

Permit, and the CWA.

        32.      The August Notice, which is attached hereto as Exhibit “A,” sets out a detailed

list of violations by Defendant Smelter of its NPDES Permit, as well as the TWQCA and

Tennessee Water Quality Standards, between January of 2009 and June of 2010 in regards to its

discharge(s) of cooling water/condensate and industrial storm water. The August Notice and the

detailed list of violations are incorporated by reference as if fully set forth herein.




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       33.     The violations listed in the August Notice relating to Defendant Smelter’s

violations of its NPDES Permit, the TWQCA and the Tennessee Water Quality Standards are

continuing and ongoing, or are likely to recur, as of the date this Complaint is being filed.

       34.     Prior to receiving coverage under NPDES Permit No. TN0078573, Smelter was

covered under the Tennessee General NPDES Permit for Storm Water Discharges Associated

with Industrial Activities, Permit No. TNR053301 (“TMSP General Permit”).

       35.     On January 15, 2007, and March 1, 2007, Smelter conducted storm water

sampling events for Outfalls SW1 and SW2.         As set forth in more detail in Plaintiff’s August

Notice, which is attached hereto as Exhibit “A” and incorporated by reference herein, the results

of these sampling events showed violations of the terms and conditions of the TMSP General

Permit, the TWQCA and Tennessee Water Quality Standards.                  These violations are also

violations of the Additional Conditions contained in NPDES Permit No. TN007857, and thus are

continuing, or are likely to recur, as of the date of this Complaint being filed.

                                              CLAIMS

   COUNT 1: VIOLATION OF THE TERMS OF NPDES PERMIT NO. TN0078573 IN
                 VIOLATION OF THE CLEAN WATER ACT

       36.     Paragraphs 1-35 of this Complaint are hereby realleged and incorporated by

reference herein.

       37.     As set forth in Paragraph 24 of this Complaint and the August Notice attached

hereto and incorporated by reference herein, Defendant Smelter has violated and Sections 301(a)

and 402 of the CWA, 33 U.S.C§§ 1311(a) and 1342, by repeatedly violating the effluent

limitations and Additional Conditions contained in its NPDES Permit, as well as the TWQCA

and Tennessee Water Quality Standards, arising out of its discharge(s) of cooling

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water/condensate and industrial storm water from the Smelter facility into the unnamed tributary

to Sugar Creek.

        38.    As set forth in Paragraphs 25-27 of this Complaint and the August Notice

attached hereto and incorporated by reference herein, Defendant Smelter has violated the terms

and conditions of its NPDES Permit by failing to sign the Non-Stormwater Discharge

certification in its revised SWPPP and by failing to amend the SWPPP as required.

        39.    As set forth in Paragraphs 28-31 of this Complaint and the August Notice

attached hereto and incorporated by reference herein, Defendant Smelter’s BMAP reports

demonstrate that Smelter has violated the Additional Conditions relating to storm water

discharges contained in Part I.A. of its NPDES Permit, as well as the TWQCA and Tennessee

Water Quality Standards.

        40.    Defendant Smelter should be subject to an enforcement order or injunction

ordering Mount Pleasant to cease its violations of NPDES Permit No. TN0078573.

        41.    Defendant Smelter should be subject to the assessment of civil penalties for these

permit violations pursuant to Sections 309(d) and 505 of the Act, 33 U.S.C. §§ 1319(d) and

1365.

        42.    For the purpose of assessing the maximum penalty which Defendant Smelter is

liable, each day that Smelter has violated NPDES Permit No. TN0078573 constitutes a separate

violation of Section 301(a) of the CWA, pursuant to Section 309(d), 33 U.S.C. § 1319(d), for

each day on which it has occurred or will occur after the filing of this Complaint.




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  COUNT 2: VIOLATION OF THE TERMS OF NPDES PERMIT NO. TNR053301 IN
                VIOLATION OF THE CLEAN WATER ACT

        43.    Paragraphs 1-42 of this Complaint are hereby realleged and incorporated by

reference herein.

        44.    As set forth in Paragraph 35 of this Complaint and in the August Notice attached

hereto and incorporated by reference herein, Defendant Smelter has violated and Sections 301(a)

and 402 of the CWA, 33 U.S.C§§ 1311(a) and 1342, by violating the terms and conditions of the

TMSP General Permit as well as the TWQCA and Tennessee Water Quality Standards.

        45.    These violations of the TMSP General Permit are also violations of the Additional

Conditions contained in NPDES Permit No. TN0078573, as well as the TWQCA and Tennessee

Water Quality Standards.

        46.    Defendant Smelter should be subject to an enforcement order or injunction

ordering Mount Pleasant to cease its violations of NPDES Permit No. TN0078573.

        47.    Defendant Smelter should be subject to the assessment of civil penalties for these

permit violations pursuant to Sections 309(d) and 505 of the Act, 33 U.S.C. §§ 1319(d) and

1365.

        48.    For the purpose of assessing the maximum penalty which Defendant Smelter is

liable, each day that Smelter has violated NPDES Permit No. TN0078573 constitutes a separate

violation of Section 301(a) of the CWA, pursuant to Section 309(d), 33 U.S.C. § 1319(d), for

each day on which it has occurred or will occur after the filing of this Complaint.

                                    RELIEF REQUESTED

        WHEREFORE, Plaintiffs respectfully request that the Court grant the following relief:




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  a.     Enter a declaratory judgment that Defendant Smelter has violated and is in

         violation of the CWA, 33 U.S.C. §§ 1311(a) and 1342;

  b.     Order Defendant Mount Pleasant to comply with all effluent limitations and other

         terms and conditions of coverage under NPDES Permit No. TN0078573;

  c.     Order Defendant Smelter to pay civil penalties of up to thirty-seven thousand five

         hundred dollars ($37,500) per day for each day of each violation of the CWA set

         out in this Complaint, pursuant to Sections 309(d) and 505(a) of the CWA, 33

         U.S.C. § 1319(d) and 1365(a);

  d.     Award Plaintiff its costs, including reasonable attorney and expert witness fees, as

         authorized by Section 505(d) of the CWA, 33 U.S.C. § 1365(d); and

  e.     Grant such other and further relief as the Court deems just and appropriate.

  Respectfully submitted, this the 30th day of December, 2010.

                                                 /s/ Gary A. Davis
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